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                   UNITED STATES DISTRICT COURT 7211-IN23 Mi 9:38
                   SOUTHERN DISTRICT OF GEORGIA

                          STATE SBORO DIVISION


ELIJAH NAHUM SIMMONS,               )
                                    )
       Movant,                      )
                                    )
V.                                  ) Case No. CV611-083
                                    )           CR6 10-001
UNITED STATES,                      )
                                    )
     Respondent.                    )
                                ORDER
       After a careful de novo review of the record in this case, the Court
concurs with the Magistrate Judge's Report and Recommendation, to which
objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.
       SO ORDERED this 2)3 day of _T3                     12012.




                                   09. AVANT EDENFIEj[)   '
                                   UNITED STATES DfSTRICT JUDGE
                                   SOUTHERN DISTtLICT OF GEORGIA
